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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

IN RE FOUR APPLICATIONS FOR SEARCH
WARRANTS SEEKING INFORMATION
ASSOCIATED WITH PARTICULAR                               CRIMINAL NO. 3:25-CR-38-CWR-ASH
CELLULAR TOWERS
A/K/A TOWER-DUMP WARRANTS

                                             ORDER

         Before the Court are four search-warrant applications for location-and-time based cell-

tower data, also known as tower-dump or tower-extraction warrants. The applications seek to

obtain from four separate cellular service providers a list of phone numbers and identifiers for

cellular devices that connected to cell towers covering nine locations during specific windows of

time ranging from ten minutes to one hour for each location. The applications also request

information about all communications made using those towers during the specified times.1 The

time windows and locations correspond to crimes the Government suspects were committed by

members of a violent street gang. Based on the Fifth Circuit’s recent decision in United States v.

Smith, 110 F.4th 817, 820 (5th Cir. 2024), in which the court concluded that geofence warrants

are per se “unconstitutional under the Fourth Amendment,” the Court concludes these tower-

dump search warrants cannot be issued consistent with the Fourth Amendment. For the reasons

explained below, the Court therefore declines to issue the warrants.

I.       Background

         According to the four identical affidavits of an FBI Special Agent supporting the search-

warrant applications, law enforcement suspects the involvement of various members of a violent



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      The applications also seek information for communications beginning before or ending
after the specified intervals if any portion of the communications occurred within the requested
windows of time.
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street gang—including seven named in the applications—in numerous homicides, shootings, and

vehicle thefts occurring over a 14-month period in urban and suburban areas. See generally Aff.

       The Government has asked the Court to authorize the collection of data from every user

of a cellular device that connected to any of the cell towers providing service to the locations of

those nine incidents “to help identify or eliminate suspects” by pinpointing individuals whose

devices “were in the general vicinity of” the crime scenes. Aff. ¶ 58.2 In particular, for each cell

tower providing service to the described locations,3 the Government seeks

               records and other information (not including the contents of
               communications) about all communications made using the cellular
               tower(s) . . . during the corresponding timeframe(s) listed . . . ,
               including records that identify:
                   a. the telephone call number and unique identifiers for each
                   wireless device in the vicinity of the cell tower (“the locally
                   served wireless device”) that registered with the cell tower . . . ;
                   b. for each communication, the “sector(s)” (i.e. the face(s) of the
                   tower(s)) that received a radio signal from the locally served
                   wireless device;
                   c. the date, time, and duration of each communication; . . .
                   d. the source and destination telephone numbers associated with
                   each communication (including the number of the locally served
                   wireless device and the number of the telephone that transmitted
                   a communication to, or to which a communication was
                   transmitted by, the locally served wireless device; and
                   e. the type of communication transmitted through the tower
                   (such as phone call or text message).

   2
      “[C]ellular service providers maintain antenna towers (‘cell towers’) that serve and provide
cellular service to devices that are within range of the tower[s’] signals. Each cell tower receives
signals from wireless devices, such as cellular phones, in its general vicinity. By communicating
with a cell tower, a wireless device can transmit and receive communications, such as phone
calls, text messages, and other data.” Aff. ¶ 54.
   3
      Following submission of its memorandum, the Government explained in response to the
Court’s question that it is possible that multiple towers for a given provider may service devices
in a particular location, but that a cellular device typically connects to the tower providing the
strongest signal. A device, however, “does not always utilize the cell tower that is closest to it.”
Aff. ¶ 54.


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Id. at Attachment B. Thus, while the Government’s aim is to identify or rule out suspects in the

crimes that took place at each location, it is asking the Court to give it access to information

about every communication in the covered time and area made by every person, including more

detailed location data (beyond the address serviced by a given tower) that the “sector”

information will provide. In terms of the temporal scope of the Government’s request, each

warrant application seeks data for devices connecting to the towers serving the nine locations for

a combined total of 220 minutes. So the Government wants the Court to require the four cellular

providers to provide data for a total of 880 minutes—or more than 14 hours—for every device

connecting to any of the towers serving those locations.

       The applications confirm that “[t]he records obtained by the government through these

warrants will likely be voluminous and will include the cellular telephone identifiers of

otherwise innocent and uninvolved individuals.” Id. ¶ 59. The Government states that it will

retain this information through the conclusion of any prosecutions (including through final

appeals), at which time it will “dispose of any extraneous records pertinent to uninvolved,

innocent third parties.” Id. It also states that it will make no investigative use of that innocent-

party information absent a court order. Id. The Government does not seek the contents of any

communications. Id. at Attachment B.

       The Court requested that the Government address the Fifth Circuit’s recent Smith

decision. The Government submitted a memorandum briefing its position. That memorandum is

filed in the record along with the four applications.4




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    The applications involve an ongoing investigation so those applications and the
Government’s memorandum are filed under seal.


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II.       Analysis

          A.     The requested warrants will result in a search under the Fourth Amendment.

          The initial question is whether a tower dump is a search within the meaning of the

Constitution.5 The Fourth Amendment guarantees individuals the right “to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S. Const.

amend. IV (emphasis added). “The ‘basic purpose of this Amendment’ . . . ‘is to safeguard the

privacy and security of individuals against arbitrary invasions by governmental officials.’”

Carpenter v. United States, 585 U.S. 296, 303 (2018) (quoting Camara v. Mun. Ct. of City &

Cnty. of S.F., 387 U.S. 523, 528 (1967)). The Supreme Court has “established that ‘the Fourth

Amendment protects people, not places,’ and expanded [its] conception of the Amendment to

protect certain expectations of privacy as well.” Id. at 304 (quoting Katz v. United States, 389

U.S. 347, 351 (1967)). “When an individual ‘seeks to preserve something as private,’ and his

expectation of privacy is ‘one that society is prepared to recognize as reasonable,’ [the Court]

ha[s] held that official intrusion into that private sphere generally qualifies as a search and

requires a warrant supported by probable cause.” Id. (quoting Smith v. Maryland, 442 U.S. 735,

740 (1979)).

          In Carpenter, the Supreme Court found that the government’s request for as few as 7

days of the defendant’s cell-site location information (“CSLI”) from his wireless carriers

“provide[d] a comprehensive chronicle of [his] past movements” and “was a search within the

meaning of the Fourth Amendment.” Id. at 300, 316. Prosecutors identified Carpenter as one of

several potential suspects in a series of robberies and obtained “two orders directing Carpenter’s



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    By proceeding with applications for search warrants, the Government has arguably
conceded that the tower dumps may qualify as searches within the meaning of the Fourth
Amendment.

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wireless carriers . . . to disclose ‘cell/site sector [information] for [Carpenter’s] telephone[] at call

origination and at call termination for incoming and outgoing calls’ during the four-month period

when the string of robberies occurred.” Id. at 302. Although the Government requested 152 days

of CSLI from the first provider and 7 days from the other, the Government was able to obtain

only 127 days and 2 days of data respectively from the providers. Id.

        In considering whether the acquisition of “12,898 location points cataloging Carpenter’s

movements”—“an average of 101 data points per day”—constituted a search under the Fourth

Amendment, the Court first noted that a majority had “already recognized that individuals have a

reasonable expectation of privacy in the whole of their physical movements.” Id. at 302, 310

(citing United States v. Jones, 565 U.S. 400, 430 (2012) (Alito, J. concurring in judgment); id. at

415 (Sotomayor, J., concurring)). “The Court then expressed concern with the government

having unfettered access to CSLI, noting that this data provides ‘an intimate window into a

person’s life, revealing not only his particular movements, but through them his “familial,

political, professional, religious, and sexual associations.”’” Smith, 110 F.4th at 831‒32 (quoting

Carpenter, 585 U.S. at 311 (quoting Jones, 565 U.S. at 415 (Sotomayor, J., concurring))). The

Court noted that, “in contrast to a GPS device attached to a person’s car, a cell phone ‘faithfully

follows its owner beyond public thoroughfares and into private residences, doctor’s offices,

political headquarters, and other potentially revealing locales.’” Id. at 832 (quoting Carpenter,

585 U.S. at 311). Given all of this, the Court concluded that the defendant in Carpenter had a

“reasonable expectation of privacy in the whole of his physical movements” such that a Fourth

Amendment search had occurred. Carpenter, 585 U.S. at 313.

        The Court reached this conclusion despite a line of cases holding that “a person has no

legitimate expectation of privacy in information he voluntarily turns over to third parties.” Id. at




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308 (quoting Smith v. Maryland, 442 U.S. 735, 743‒44 (1979)). The Court distinguished these

third-party-doctrine decisions by pointing out the “world of difference between the limited types

of personal information addressed in [those cases] and the exhaustive chronicle of location

information casually collected by wireless carriers today.” Id. at 314. The Court also explained

that “[c]ell phone location information is not truly ‘shared’ as one normally understands the

term”:

                In the first place, cell phones and the services they provide are “such
                a pervasive and insistent part of daily life” that carrying one is
                indispensable to participation in modern society. Riley [v.
                California,] 573 U.S.[ 373, 385 (2014)]. Second, a cell phone logs
                a cell-site record by dint of its operation, without any affirmative act
                on the part of the user beyond powering up. Virtually any activity
                on the phone generates CSLI, including incoming calls, texts, or e-
                mails and countless other data connections that a phone
                automatically makes when checking for news, weather, or social
                media updates.

Id. at 315. The Court thus concluded that “in no meaningful sense does the user voluntarily

‘assume[] the risk’ of turning over a comprehensive dossier of his physical movements.” Id.

(quoting Smith, 442 U.S. at 745).

         Last year, the Fifth Circuit applied Carpenter’s logic to assess whether “the use of

geofence warrants . . . is unconstitutional under the Fourth Amendment.” Smith, 110 F.4th at

820. The court began by describing geofence warrants:

                “[l]aw enforcement simply specifies a location and period of time,
                and, after judicial approval, companies [such as Google] conduct
                sweeping searches of their location databases and provide a list of
                cell phones and affiliated users found at or near a specific area
                during a given timeframe, both defined by law enforcement.”

Id. at 822 (quoting Note, Geofence Warrants and the Fourth Amendment, 134 Harv. L. Rev.

2508, 2509 (2021)). In Smith, the geofence warrant sought location data for a one-hour period

“within a geofence covering approximately 98,192 square meters” around the scene of a robbery



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in a rural area of DeSoto County, Mississippi. Id. at 827. The warrant in Smith, which led to

Google searching its “592 million accounts[,] returned three anonymous device IDs within the

requested parameters.” Id.

       The Fifth Circuit noted that “[m]any of the concerns expressed . . . in . . . Carpenter . . .

are highly salient in the context of geofence warrants.” Id. at 832–33. In particular, “[a]s [the

Carpenter Court] explained, modern cell phones enable the government to achieve ‘near perfect

surveillance’; carrying one of these devices is essentially a prerequisite to participation in

modern society, and users ‘compulsively carry cell phones with them all the time.’” Id. at 833

(quoting Carpenter, 585 U.S. at 311–12). The court further acknowledged that geofence

“technology provides more precise location data than either CSLI or GPS.” Id.

       It then explained that it was not the first Court of Appeals to consider “whether

geofencing is a ‘search’ subject to the Fourth Amendment”: a panel of the Fourth Circuit

concluded it was not in United States v. Chatrie, 107 F.4th 319, 332 (4th Cir. 2024) (applying

third-party doctrine and concluding that the defendant “knowingly and voluntarily chose to allow

Google to collect and store his location information” such that he had no “reasonable expectation

of privacy in this information”).6 The Fourth Circuit reached its decision, in part, because

Google users must “opt[] in to Location History” to enable Google to “track [their] location[s].”

Id. at 331. The Fifth Circuit disagreed that this made geofence searches meaningfully different

from the search of CSLI data in Carpenter: “As anyone with a smartphone can attest, electronic

opt-in processes are hardly informed and, in many instances, may not even be voluntary.” Smith,


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     Notably, the Fourth Circuit has granted a petition to rehear Chatrie en banc. United States
v. Chatrie, No. 22-4489, 2024 WL 4648102 (4th Cir. Nov. 1, 2024). In Smith, the Fifth Circuit
denied the Government’s petition for rehearing en banc. United States v. Smith, No. 23-60321,
Order on Petition for Rehearing En Banc (5th Cir. Jan. 14, 2025). Smith is binding precedent in
the Fifth Circuit.


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110 F.4th at 835. The court thus concluded that “Carpenter’s application to the third-party

doctrine in this case is straightforward”: “while cell phone data is held by private corporations,

on a practical level, it is unreasonable to think of cell phone users as voluntarily assuming the

risk of turning over comprehensive dossiers of their physical movements to third parties.” Id. at

834 (citing Carpenter, 585 U.S. at 315). In other words, the court concluded that the third-party

doctrine did not take the Government’s acquisition of data from Google outside the ambit of the

Fourth Amendment.

       Following Carpenter’s logic, the Fifth Circuit in Smith ultimately held that a search

within the Fourth Amendment had occurred pursuant to the geofence warrants: “Given the

intrusiveness and ubiquity of Location History data,” the defendants had “a ‘reasonable

expectation of privacy’ in their respective data” such that “law enforcement . . . did conduct a

search when it sought Location History data from Google.” Id. at 836.

       Applying the rationale the Supreme Court articulated in Carpenter as interpreted by the

Fifth Circuit in Smith, the Court concludes that a tower dump is a search under the Fourth

Amendment. The warrant applications here seek information identical to that sought in the

geofence warrant in Smith: “a list of cell phones and affiliated users found at or near a specific

area during a given timeframe, both defined by law enforcement.” Id. at 822 (quoting Note,

Geofence Warrants, 134 Harv. L. Rev. at 2509).7 Just as an individual has “a legitimate



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      In its memorandum, the Government attempts to distinguish Smith by noting that “[f]or
Google to comply with the geofence warrant, it had to ‘search each account in its entire
[database]—all 592 million—to find responsive user records.’” Mem. at 2 (quoting Smith, 110
F.4th at 824). But the invasiveness of geofence location data in Smith was not tied to the breadth
of the search Google performed to identify responsive records. Instead, the Fifth Circuit
concluded that “[g]iven the intrusiveness and ubiquity of Location History data, [the defendants]
ha[d] a reasonable expectation of privacy in their respective data.” Smith, 110 F.4th at 836
(internal quotation marks omitted). Those same concerns are present here and give rise to
cellular device users’ reasonable expectation of privacy in their data that would be revealed by


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expectation of privacy in the record of his physical movements as captured through CSLI,” he

has a reasonable expectation of privacy as to the record of his location at particular moments in

time that a tower dump would reveal.8 Carpenter, 585 U.S. at 310; see Smith, 110 F.4th at 833.

       Carpenter did not directly address whether a request for less data would constitute a

search. Neither the Government’s warrant applications nor the warrant in Smith span the same

amount of time as the location data collected in Carpenter—as many as 129 combined days or as

few as 2 days considering the narrower request. Carpenter, 585 U.S. at 302.9 Smith, however,

teaches that the quantity of location data points does not control: “While it is true that geofences

tend to be limited temporally, the potential intrusiveness of even a snapshot of precise location

data should not be understated.” Smith, 110 F.4th at 833. “Plus, such location tracking can easily

follow an individual into areas normally considered some of the most private and intimate,

particularly residences.” Id.



the Government’s requested warrants.
   8
     The Government argues that it is not seeking users’ location data in the same way the
prosecutors in Smith and Carpenter did. But the data the Government wants from the cellular
providers is tied to particular locations and seeks tower sector data to more narrowly pinpoint
users’ whereabouts. The warrant in Smith specified the point of origin for Google’s geofence,
and so too the Government’s warrant applications specify nine points of origin for the tower
dumps. The affidavits supporting the applications indicate that the data “will permit investigators
to determine . . . the path of travel of the suspects,” which further confirms that the Government
seeks location data. Aff. ¶ 52. The fact that the Government may get less precise data in this case
than it received in Smith does not alter the analysis. Improvements in location-tracking
technology do not erase the concerns Carpenter raised about CSLI data. And Smith’s reasoning
about the privacy implications of even a snapshot of data apply equally here. The Court
concludes the Government is seeking location data and its warrants therefore implicate the
privacy concerns embodied in Carpenter and Smith.
   9
     But there are similarities between the Government’s request here and those in Carpenter.
The CSLI obtained in Carpenter averaged to “101 data points per day,” which equates to a little
over 4.2 per hour. Id. This illustrates that the Government’s warrant applications here need not
obtain more than a few data points per person per half hour to exceed the rate of collection in
Carpenter.


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        As a source cited approvingly in Smith noted,

               [E]ven a brief snapshot can expose highly sensitive information—
               think a visit to “the psychiatrist, the plastic surgeon, the abortion
               clinic, the AIDS treatment center, the strip club, the criminal defense
               attorney, the by-the-hour-motel, the union meeting, the mosque,
               synagogue or church, [or] the gay bar,” or a location other than home
               during a COVID-19 shelter-in-place order.

Haley Amster & Brett Diehl, Note, Against Geofences, 74 Stan. L. Rev. 385, 408 (2022)

(quoting Jones, 565 U.S. at 415 (Sotomayor, J., concurring)), quoted in Smith, 110 F.4th at 833.

Here, based on a review of publicly accessible maps, the areas within one mile of each of the

Government’s specified locations10 include residential neighborhoods, a mall, medical clinics,

schools, shopping centers, a supermarket, churches, a courthouse, hotels, interstate highways, a

train station, and an airport. It is unclear how many people are implicated by the Government’s

requested tower dumps, but it is plausible the total will easily exceed the three people in Smith by

hundreds if not thousands given the population density of the covered areas.11




   10
       In considering a request for location information—whether in the form of CSLI, a
geofence, or a tower dump—Carpenter is silent about the import (if any) of geographic scope.
Smith at least provides a point of comparison. The geofence warrant in Smith covered
approximately 98,192 square meters for a one-hour period. Smith, 110 F.4th at 827. Following
submission of its memorandum, the Government explained in response to the Court’s question
that cell tower range is dependent on a number of variables, such as tower strength and
geography, but it can be between 1–1.5 miles. Even assuming the lower estimate, this would
translate to a circular area comprising approximately 8,136,688 square meters for between 10
minutes to 1 hour for each tower.
   11
      The Government argues that its warrant applications are distinguishable from the geofence
warrant in Smith because they will “yield[] data that is significantly less granular than a
geofence.” Mem. at 3. But as the Fifth Circuit in Smith noted, “the Supreme Court’s analysis of
whether the government’s access of the defendant’s CSLI impeded his reasonable expectation of
privacy was not based on a review of the specific results of the search in that case. Rather, the
Supreme Court analyzed the general capabilities of CSLI, and asked whether the ability for
CSLI ‘to chronicle a person’s past movements through the record of his cell phone signals’
created an expectation of privacy.” Smith, 110 F.4th at 834 n.8 (quoting Carpenter, 585 U.S. at
309) (additional citation omitted).


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       That brings us to the third-party doctrine. An individual’s expectation of privacy in the

record of his or her physical location is not “overcome” by “the fact that the Government [will]

obtain[] the information from a third party” with whom cell phone users share their data.

Carpenter, 585 U.S. at 315. The Government’s tower-dump warrant applications do not

implicate the sort of opt-in procedure that split the Fourth and Fifth Circuits in the geofence

cases. Instead, the application of the third-party doctrine in this case is governed by Carpenter,

which concluded the doctrine did not apply “to the collection of CSLI.” Carpenter, 585 U.S. at

315 (explaining “[c]ell phone location information is not truly ‘shared’ as one normally

understands the term” and that “in no meaningful sense does the user voluntarily ‘assume[ ] the

risk’ of turning over a comprehensive dossier of his physical movements” (quoting Smith, 442

U.S. at 745)). Because cellular device users have a reasonable expectation of privacy in the

location data revealed in a tower dump, a tower dump is a search under Smith’s interpretation of

Carpenter and the Fourth Amendment.

       B.      The requested warrants fail to satisfy the Fourth Amendment.

       Having concluded that a tower dump is a search, the Court turns to whether the

Government’s warrant applications are “supported by probable cause and particularity.” Smith,

110 F.4th at 836; see U.S. Const. amend. IV (“[N]o warrants shall issue, but upon probable

cause, supported by oath or affirmation, and particularly describing the place to be searched, and

the persons or things to be seized.”). The Fourth Amendment was adopted in “response to the

reviled ‘general warrants’ and ‘writs of assistance’ of the colonial era, which allowed British

officers to rummage through homes in an unrestrained search for evidence of criminal activity.”

Smith, 110 F.4th at 836 (quoting Riley, 573 U.S. at 403); see id. (“‘General warrants’ are

warrants that ‘specif[y] only an offense,’ leaving ‘to the discretion of the executing officials the




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decision as to which persons should be arrested and which places should be searched.’” (quoting

Steagald v. United States, 451 U.S. 204, 220 (1981))). To satisfy the Fourth Amendment, “a

search or seizure of a person must be supported by probable cause particularized with respect to

that person.”12 Ybarra v. Illinois, 444 U.S. 85, 91 (1979). Critically, “[t]his requirement cannot

be undercut or avoided by simply pointing to the fact that coincidentally there exists probable

cause to search or seize another or to search the premises where the person may happen to be.”

Id. “[A] person’s mere propinquity to others independently suspected of criminal activity does

not, without more, give rise to probable cause to search that person.” Id.

        With this framework in mind, the Fifth Circuit in Smith concluded that “[g]eofence

warrants present the exact sort of ‘general, exploratory rummaging’ that the Fourth Amendment

was designed to prevent.” Smith, 110 F.4th at 837 (quoting Coolidge v. New Hampshire, 403

U.S. 443, 467 (1971)). The court noted that geofence warrants “never include a specific user to

be identified, only a temporal and geographic location where any given user may turn up post-

search” and concluded “[t]hat is constitutionally insufficient.” Id. The court quoted favorably

from a law review article that supported its conclusion that geofence warrants do not satisfy the

Fourth Amendment:

               As professor Stephen Henderson explains in his discussion of CSLI,
               focusing probable cause on the group rather than the individual
               “would mean that a larger database is always preferred” by law
               enforcement, because “by definition there will be evidence of crime
               in that larger set.” Stephen E. Henderson, Response, A Rose by Any
               Other Name: Regulating Law Enforcement Bulk Metadata
               Collection, 94 Tex. L. Rev. See Also 28, 40‒41 (2016). Doing so

   12
       Probable cause for a search “exists when there are reasonably trustworthy facts which,
given the totality of the circumstances, are sufficient to lead a prudent person to believe that the
items sought constitute . . . evidence of a crime.” Kohler v. Englade, 470 F.3d 1104, 1109 (5th
Cir. 2006). An affidavit supporting a search warrant “must make it apparent, therefore, that there
is some nexus between the items to be seized and the criminal activity being investigated.” Id.



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               leads to an “absurd” understanding of probable cause: “[A]
               prosecutor confident that a bank customer is committing tax fraud
               could access the combined records of all customers of that bank
               because, somewhere in there, she is very sure is evidence of crime.”
               Id. at 41. Henderson argues, in the context of CSLI, it must be the
               case that probable cause is required for “each person’s obtained
               records,” meaning here “each phone number contained within the
               dump.” Id.

Smith, 110 F.4th at 837 n.11.

        For the reasons the Fifth Circuit articulated in Smith, the Court concludes that the

Government’s tower-dump warrant applications are not supported by probable cause and

particularity. For starters, while the Government has some idea of who may have been involved

in one or more of the crimes—the affidavits supporting the warrant applications list seven

potential suspects—the Government has not presented probable cause to believe that any

particular individual committed any of the specific crimes described. The warrant applications

also arguably present probable cause to believe that the searches will reveal the location data of

some unknown perpetrators of the crimes. See Mem. at 3 (explaining that affidavits describe “the

belief that the cell towers will contain evidence of [who committed] the offenses”). But this is

not enough. If the Court were to issue the warrants, it would be authorizing the Government to

search the data for every cellular device (including cell phones) of every single individual near

the crime scenes without a showing of probable cause as to each individual. See Ybarra, 444

U.S. at 92 n.4 (“[A] warrant to search a place cannot normally be construed to authorize a search

of each individual in that place.”).13




   13
      Carpenter characterized its decision as “a narrow one”: “We do not express a view on
matters not before us: real-time CSLI or ‘tower dumps’ (a download of information on all the
devices that connected to a particular cell site during a particular interval).” Carpenter, 585 U.S.
at 316. The Supreme Court’s reticence to address other technologies does not authorize their use.


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            Stated another way, the Government is essentially asking the Court to allow it access to

an entire haystack because it may contain a needle. But the Government lacks probable cause

both as to the needle’s identifying characteristics and as to the many other flakes of hay in the

stack. And unlike in Smith, where only three devices turned up in the geofence in rural DeSoto

County, Mississippi, the haystack here could involve the location data of thousands of cell phone

users in various urban and suburban areas. As in Smith, the tower-dump warrant applications

“present the exact sort of ‘general, exploratory rummaging’ that the Fourth Amendment was

designed to prevent.” Smith, 110 F.4th at 837 (quoting Coolidge, 403 U.S. at 467). And because

they are “general warrants,” they are “categorically prohibited by the Fourth Amendment.” Id. at

838.14

III.        Conclusion

            This Court is duty-bound to apply Smith as binding precedent. See United States v.

Rahimi, 117 F.4th 331, 334 (5th Cir. 2024) (Ho, J., concurring) (explaining “[i]nferior courts

have no such luxury” to adjust or amend precedents, but must follow precedents “whether we

agree with them or not—and whether we expect the [higher c]ourt itself to follow them or not”).

This is the case notwithstanding the fact that declining to issue tower-dump warrants “will


       14
       The warrant applications are also problematic because of the amount of discretion they
vest with law enforcement. Officers will not know which cell phone or phones belong to their
suspects until they comb through the lists of all phones in the areas of the crimes and cross
reference those lists for commonalities. Even then, this cross-referencing may generate false
leads if, for example, an innocent person happened to be in more than one tower dump location
at the specified times. The Fourth Amendment does not permit law enforcement to rummage
through troves of data and themselves determine the existence of probable cause to support the
seizure of that data. See Lo-Ji Sales, Inc. v. New York, 442 U.S. 319, 325 (1979) (finding warrant
authorizing search of adult bookstore not supported by probable cause where affidavit said only
that “obscene materials” similar to those purchased by undercover officer “would be found at the
store,” explaining that “warrant left it entirely to the discretion of the officials conducting the
search to decide what items were likely obscene and to accomplish their seizure” and concluding
that “[t]he Fourth Amendment does not permit such action”).


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inevitably hamper legitimate law enforcement interests.” Smith, 110 F.4th at 841 (Ho, J.,

concurring) (“[H]amstringing the government is the whole point of our Constitution. . . . Our

decision today is not costless. But our rights are priceless.”). As explained above, the tower-

dump search warrants sought by the Government are materially indistinguishable from the

geofence search warrant foreclosed by Smith. Accordingly, the Court declines to issue the search

warrants.

       SO ORDERED AND ADJUDGED this the 21st day of February, 2025.

                                              s/ Andrew S. Harris
                                              UNITED STATES MAGISTRATE JUDGE




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